Case 01-01139-AMC Doc 4215-17 Filed 08/11/03 Page1of8

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{fi TO: #H. A. Brown DATE: January 28, 1976
oe J. W. Wolter :
y R. L./Oliverio/Libby SUBJECT: Procedure and Equipment
H. Af Eschenbach for Fiber Counting

H. £. Duecker

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F./ G. Serafin
File: 71-047

FROM: J. C. Yang

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Attached is a detailed method and equipment list

eos a ein = att
for fiber counting, written by F. G,. Serafin.

Fem e L

If you have any specific areas requiring elabora-
tion, please contact me or F. G. Serafin.

The time required for fiber counting (including
.celcvlation and cleaning) is ahout 30-45 minztes depending

upon the skill of the operetor,
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Case 01-01139-AMC Doc 4215-17 Filed 08/11/03 Page 2 of 8

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CONSTRUCTION PRODUCTS DIVISION . Page 1

I. EQUIPMENT NEEDED FOR SLIDE PREPARATION

1. Mounting medium - see Appendix for preparation,

2. Ross Optical Lens Tissue - this lens tissue is preferrea because
of its superior cleaning qualities. T+ may be purchased from Ladd
Research Industries, P.O, Box 901, Burlington, Vermont O5401. A
dozen boxes at 1000 sheets fach Should last some time,

4. 1 ease of 22 X 22 mm no. 1,5 (0.16 to 0.19 tom thick) cover glasses,
Fisher item 12-5hip.

5. 2 curved forceps. Fisher item 8-875.

6. 2 dissecting knife handles, Fisher item 8-923.

7. 6 dissecting knife blades, Fisher item 8-916D,

8 2 Package of 125 mm x 3 mn Stirring rods, Fisher item 11-3804.
9. Pencil.

10; Smell Spatula or knife (aside from the one used to cut the filter
Paper) to cut the tape around the cassette.

LL. Quarter or nickel for prying open ceéssette,

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Case 01-01139-AMC Doc 4215-17 Filed 08/11/03 Page 3of8

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CONSTRUCTION PRODUCTS DIVISION . Page 2

II, SLIDE PREPARATION

1,

2.

Place clean lens tissue on desk,

Wipe dissecting knife, forceps, and 1 Stirring rod end with another
Piece of lens tissue using &@ separate Section of the tissue for each
instrument. After Wiping each instrument, it should be Placed on the
tissue in step (1). The wiping tissue should be thrown away.

Place a sécond piece of clean lens tissue on the desk.

Take hold of a glass slide by its edges at the frosted end and hold
it up to the light. Remove any visible dirt by wiping with lens
tissue. Put the slide down on the clean tissue in step (3) frosted
Side up, and replace the cover on the hox of remaining slides,

Take hold of a cover Glass by its edges, hold it up to the light
checking for cleanliness and; egain, remove any visible dirt by
wiping with lens tissue. Place i+ On the clear edge of the glass
Blide so that it overhangs enough so that one of its edges is resting
on the lens paper, (Close the cover on the remaining cover glasses,

Cut the sealing tape on the air Sample cassette with a spatula,
knife, or fingernail.

Loosen the cassette by prying sround the edges with a eoin (nickel
or quarter should do} but do not remove the cover yet.

Flace a drop of mounting medium (see Appendix for Preparation) in
the center of the slide, This should be done with the stirring
rod which comes with the Balsam bottle. The First drop should be
permitted to fall back into the bottle; the second drop should fall
on the slide (never touch the Slide with this rod), Always place
the cover on the bottle after you are finished putting the drop on
the slide.

Pull one edge of the drop of mounting fluid,on the Slide, out

9.
50 as -to get a pear shaped Grop. This is done with the clean
Stirring rod on the tissue from step (2}. After doing this, the
stirring rod should be wiped dry with the center of another piece
of lens tissue end replaced in its Original position. Don't dis-
card the cleaning tissue yer.

10. Remove the top of the sample cassette completely.

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Case 01-01139-AMC ‘Doc 4215-17 Filed 08/11/03 Page 4of8

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CONSTRUCTION PRODUCTS DIVISION Page 3

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Holding the cassette containing the filter Ppzper firmly on the desk
with one hand,cut a pie shaped sezrent from the filter paper with an
arc of about one en. using the dissecting knife. The cuts should be
made starting from the filter peper's center and extending out to
its edge. Wipe both sides of the Scalpel blade carefully with a
clean portion of the Paber used to wipe the rod in step (9) and
replace the knife in its original position, (Wipe the blade Pulling
the cutting edge toward yourself rather than pushing it toward you,
The latter technique results in rather bloody cuts. ) Again, don't
discard the cleaning tissue,

and segment shapes correspond. The paper should be &rasped by its
circumferential edge with the forceps, to minimize disturbing the dust
on the paper's surface, Replace the cassette cover,

Place the cover Blass over the Banple, Wipe the forceps cleen vith a

clean portion of the paper from step (11), and now discard the latter.
Apply a gentile Pressure on the cover eless using the convex curve of
the forceps for about 30 seconds. Then Put the forceps back in their
original position,

On the frosted end of the Slide write in pencil, using a three-line
formet, civine sexrple identification, dete os Slids Preparation, and
Hitials. Fut the slide aside on a Piece of lens tissue,

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your in

Repeat the pressure described in step (13) two more times - once after
each of the next two slide preperavions. This should clear the cen-

‘tral portion of the filter paner teaving only the three corners of the

original pie visible if the Size of the mounting nediur drop was correct,

A new lens tissue shovld be set out for the Preparation of each new
Slide (step 3),

The slide is ready for reading 0.5 hour after Preparation. But wait-
ing for 0.5 to 1 day is better, because there is some early graininess
to a fresh slide which makes it more difficult to read. Slides should
be read within 5 days after preparation to prevent any. difficulties
from possible crystallization of the mounting mediun,

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Case 01-01139-AMC Doc 4215-17 Filed 08/11/03 Page5of8

CONSTRUCTION PRODUCTS DIVISION . . Page i

IIT. MICROSCOPE PRELIMINARTES

This section is written in general terms since the procedures
are dependent on the make and model of the microscope used,

- The Porton reticle should be calibrated against a slide micro-
meter. Ours has been adjusted to 20 microns to a Side, resulting in
& counting field area of 0,0025 mae,

Place a sample slide on the stage as for counting. Then: -

1. Foeus on Some .particulates on the filter Paper ares of the
slide,

2. Adjust the light source for maximum brightness,

3. Examine the phase rings for correct overlap, Adjust if
necessary. -

4. Close the illuminator iris and adjust the substage con-
denser until the image of the iris opening is Sherp and
on the verge of changing colors (blue to rea or vice versa),

D+ Open the illuminator iris unvil the field of view is just
filled with light.

6. Adjust the fine foous te Bet vhe best image,

i have found that a single check of the phase rings per dey is
sufficient unless the objectives are changed to some other power,
This usually disrupts ring alignment in our Scope (as do the vibrations
of & passing freight train) and Sted 3 above mist be vepeated. Adjust-
ment of the substage condenser is more variable and ran easily be
checked for each slide with our microscope.

F.G.Serafin

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“Case 01-01139-AMC Doc 4215-17 Filed 08/11/03 Page 6 of 8

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CONSTRUCTION PRODUCTS DIVISION . Page 5

COUNTING

After the preliminaries of section IIT have been completed,
the slide is ready to be counted. We count ko fields. However,
if time is available, more fields should be counted to get a
Statistically mre reliable figure, especially if the fiber counts

stay away as best we can from the edges, the apex, and the are of
the original Pie shaped segment,

Only those fibers in the left hand square of the Porton
reticle are counted, This square constitutes the ccunting Field.
A decision should be made prior to counting concerning fibers
which cross the boundaries of the Square field. ‘Two adjacent
Sides of the square should be chosen so that fibers erosSing those
sides are counted while fibers crossing the other two sides ere
ignored even if a portion of them lies within the field.

Only those fibers greater than 5 miorons in length are
counted. Lengths may be estimated by comparison with the hash
marks along the left side of the Porton field square, (Based on
our calibration, the distance between the closest marks in our

‘microscope is conveniently set at 5 Gicrons.) The circles along

the bottom edge of reticle may also be usad, Only those fibers
whose length to diameter ratio (aspect retio) is greater than 3
should be counted, Do not count fibers whose diameter is greater

' than 3 microns, and do not count as fibers crystals or Slivers of

material. Crystals can be particularly deceptive if an edge is
visible and the refractive index of the crystal is e near mateh
for that of the mounting medium (2 good example of this problem
is perlite).

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Case 01-01139-AMC Doc 4215-17 Filed 08/11/03 Page 7 of 8

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CONSTRUCTION PRODUCTS Division , Page 6
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VY. CALCULATION OF RESULTS

The calculation of the number of fibers/ml. of air Samples is done as
follows: ,

(1) the sampling area of Millipore filter paper AAWPO3700 is 855 mné (we
have checked this and found it to be correct), However, you should
doublecheck this to make sure for your filter paper.

(2) @ivide the total Sampling surface area of the filter paper (855 mm?)
by the area of one counting field to get the total number.of possible

(3) multiply the result in step (2) by the average number of Pibers found
per field to get the total number of fibers on the whole filter dise.

(4) multiply the total time air was Sampled by the pump (in minutes) by
- the flow rate through the pump (in ml. /minute).

(5) divide the result in (3) by the result of (4) to get the final answer
in terms of fibers per ml. of air.

These calculations are Summarized. by the following formula and example,

Sibers per ml. of air vx?

= sampling time in minutes

= air flow rate through Pump in m. per min,

average number of fibers per field

= total sampling filter dise surface area divided by
aree within one counting field (both surface areas
should be calculated using the same ugits, i.e., cm@
or mm , ete., and only the actual Sampling area of
the filter paper should be included and not that
covered by the upper plastic rim of the cassette).

where ,

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To = 15 minutes

Vos 1.5 liters/min. or 1500 ml. /min.

F = 6 fibers/40 fields = 0.25 fiber/fiela
K = 855 mm? = .0025 mm? = 3h2,000

342,000 x 0,15
1500 x 15

2.28 fibers per ml. of air

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Case 01-01139-AMC Doc 4215-17 Filed 08/11/03 Page 8 of 8

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APPENDIX

1,

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Add 15 ml. of dimethyl phthalate to 15 ml. of diethyl o
and stir thoroughly to get complete miving fuse Very clan
equipment throughout to avoia contamination),

Weigh out 1 g. of Millipore AANPO3700 Filters (these are the
Same as the filters used to collect tne dust Samples) and
Place these in a Balsam bottle (Fisher Cat. No. 3-082),

Add 20 mi, of the solution prepared in Step (1) to the Balsan
bottle and stir the contents briefly, Repeat the brief agi-
tation once a day for about three or four days by which time
the filter paper will have dissolved leaving a slightly
cloudy solution ready for use as the mounting mediun,

Aiways cover the Balsam bottle when not preparing or using
its contents,

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